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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



___________________________________                 CIVIL ACTION NO. 1:05-cv-12236-JLT
                                    )
RALPH J. CIMON, III                 )
            Plaintiff,              )
                                    )
            v.                      )
                                    )
BERKSHIRE LIFE INSURANCE et al )
            Defendants              )
____________________________________)



                               STIPULATION OF DISMISSAL


       The Plaintiff, Ralph J. Cimon, III, and the Defendant, Christopher Gaffney, hereby
stipulate, pursuant to Fed. R. Civ. P. 41(1)(1), that this action be dismissed with prejudice and
without costs or interest. This Stipulation is entered into as part of the terms of the Settlement
negotiated between the parties.


The Plaintiff,                                          The Defendant,
By his Attorney,                                        By his Attorney,



/s/ C. Donald Briggs III                                /s/ James S. Robbins___
C. Donald Briggs, III                                   James S. Robbins, Esquire
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